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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOURTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

 ELIBORIO PEREZ & AURELIA                         §
 PEREZ                                            §
   Plaintiffs,                                    §
                                                  §
                                                  §
 v.                                               §                  CASE NO. 7:21-CV-000241
                                                  §
                                                  §
 STATE FARM LLOYDS,                               §
                                                  §
      Defendant

                            PLAINTIFF’S UNOPPOSED MOTION TO
                                    APPEAR VIA ZOOM

  TO THE HONORABLE JUDGE OF SAID COURT:

              COMES NOW, ELIBORIO PEREZ and AURELIA PEREZ (hereinafter referred to as

“Plaintiff”) and files this Unopposed Motion to Appear Via Zoom, respectfully requesting the

Honorable Judge of said Court to allow counsel to attend the initial pretrial and scheduling order

conference on August 5th, 2021 at 2:30 p.m. by Zoom. An attorney in our office exposed to COVID-

19 last week and has developed symptoms today. However, she does not have access to a test until

tomorrow, August 3rd, 2021. All employees of our firm were in contact with this attorney on Friday,

July 30th, 2021.

                                   [Signature block on the following
                                                 page]




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                                          Respectfully Submitted,


                                          By: _______________________________
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                                          ATTORNEYS FOR PLAINTIFF


                           CERTIFICATE OF CONFERENCE

      Counsel for Plaintiff conferred with opposing counsel, Sarah Pierce Cowen, on August 2,

2021, concerning the matters raised in this motion and believe they are UNOPPOSED to this

motion.




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                                    CERTIFICATE OF SERVICE

  This is to certify that on this, the 2nd day of August, 2021, the undersigned attorney electronically
submitted the foregoing document with the clerk of the court for the U.S. District Courts, Southern
District of Texas- McAllen Division, using the electronic case files system of the court, and served
a true and correct copy of the foregoing documents upon all counsel of record electronically using
the electronic case files system of this court:


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  PLAINTIFF’S MOTION TO APPEAR VIA ZOOM
